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Adam J. Goldberg                                         Daniel Scott Schecter (pro hac vice pending)
Brett M. Neve (pro hac vice pending)                     Nima H. Mohebbi (pro hac vice pending)
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                     Chapter 15

Three Arrows Capital, Ltd, 1                               Case No. 22-10920 (         )

         Debtor in a Foreign Proceeding.


                    DECLARATION OF RUSSELL CRUMPLER
    IN SUPPORT OF VERIFIED PETITION UNDER CHAPTER 15 FOR RECOGNITION
            OF A FOREIGN MAIN PROCEEDING AND RELATED RELIEF

         I, Russell Crumpler, pursuant to 28 U.S.C. Section 1746, hereby declare under penalty of

perjury under the laws of the United States of America, as follows:

         1.       I am a Senior Managing Director of Teneo (BVI) Limited (“Teneo”) in the British

Virgin Islands. I, along with my colleague Christopher Farmer (also of Teneo), have been

appointed as joint liquidators of Three Arrows Capital Ltd. (the “Debtor”) by the Eastern

Caribbean Supreme Court in the High Court of Justice (Commercial Division).

         2.       I submit this declaration in support of the Verified Petition under Chapter 15 for

Recognition of a Foreign Proceeding pending in the British Virgin Islands (“BVI”) [Docket. No.

1
     The last four digits of the Debtor’s British Virgin Islands company registration number are 0531. The location
     of the Debtor’s registered office is ABM Chambers, P.O. Box 2283, Road Town, Tortola, VG1110, British
     Virgin Islands.
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2] (the “Verified Petition” and together with the Form of Voluntary Petition [Docket. No. 1], the

“Petition”) 2 to provide background on the Debtor and the BVI proceeding, and other relevant

events leading up thereto. I have reviewed the Petition and it is my belief that the relief sought

therein is necessary to implement the liquidation described herein.

         3.        I am over the age of 18 and I am duly authorized to make this declaration acting

in my capacity as joint liquidator of the Debtor. Except as otherwise indicated, the facts set forth

in this declaration are based upon my personal knowledge, my review of relevant documents, or

my opinion based upon experience, knowledge, and information concerning the Debtor. I am

authorized to submit this declaration on behalf of the Debtor, and if called upon to testify, I could

and would testify competently to the facts set forth herein.

         4.        Section I of this declaration describes my professional background and

experience. Section II describes the Debtor, including specific information about the Debtor’s

business and connections to the United States. Section III describes the events leading up to the

Debtor’s insolvency and the appointment of joint liquidators in the BVI proceeding. Section IV

provides an overview of a related arbitration against the Debtor, 3 including a description of how

that related proceeding could threaten the ability of joint liquidators in the BVI proceeding to

properly discharge their duties with regards to the entirety of the Debtor’s creditor body. Finally,

Section V describes the need for Chapter 15 relief.

I.       PROFESSIONAL BACKGROUND AND EXPERIENCE

         5.        I joined Teneo earlier this year following the acquisition of KPMG’s BVI

restructuring business by Teneo. Before joining Teneo, I was a Managing Director of KPMG

(BVI) Limited and the Head of Restructuring for KPMG’s Islands Group. Teneo’s BVI team

2
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Verified Petition.
3
     As of the filing of the petition in this case, the creditor who had initiated this arbitration agreed to a temporary
     stay of the proceedings.
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(formerly KPMG) has been named Insolvency Practice of the Year in the BVI Finance awards

for 2019 and 2020.

          6.       I am a UK Joint Insolvency Examination Board qualified insolvency professional

and a fellow of the Institute of Chartered Accountants in England and Wales. I have led the

advisory team in the BVI since 2011 and have been working as a restructuring and insolvency

specialist since 2000. I am a licensed insolvency practitioner in the BVI and the former chair of

Recovery and Insolvency Specialists Association (BVI) Limited, the BVI’s INSOL 4 member

organization.

          7.       I have extensive restructuring experience from numerous complex, multi-

jurisdictional engagements, including serving as a court-appointed liquidator in several high-

profile matters, a number of which have caused me to seek recognition under the US Bankruptcy

Code. I also have substantial experience across a number of business sectors, with a specific

focus on contentious insolvencies, asset tracing, and the financial services industry.

II.       THE DEBTOR

          8.       The Debtor has represented in public BVI filings that it is an investment firm

engaged in short-term opportunities trading, and is heavily invested in cryptocurrency, funded

through borrowings. As of April 2022, the Debtor was reported to have over $3 billion of assets

under its management. This was reported, for example, in a June 17, 2022 article published by

the Wall Street Journal, a true and correct copy of which is attached hereto as Exhibit 1.

          9.       On May 3, 2012, Debtor was incorporated as a Business Company under the laws

of the British Virgin Islands (“BVI”). It was co-founded by Kyle Davies and Su Zhu. It had




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      INSOL is a world-wide federation of national associations of accountants and lawyers who specialize in
      turnaround and insolvency.
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three directors: Davies, Zhu, and Mark James Dubois, a BVI resident. Its sole shareholder

owning all of its “management shares” is Three Arrows Capital Pte. Ltd.

       10.     As an investment firm registered in the BVI, the Debtor is also regulated by the

BVI Financial Services Commission, and is consequently required to, inter alia, provide annual

reporting to the Commission and comply with BVI rules and regulations, as well as subject itself

to potential audit and enforcement actions.

       11.     I understand that Three Arrows Capital Pte. Ltd. (the direct parent entity of the

Debtor) operated as a regulated fund manager in Singapore until last year, when it shifted its

domicile to the BVI, as part of a global corporate plan to relocate operations to Dubai. I also

understand that, on June 30, 2022, the Monetary Authority of Singapore (the “MAS”) issued a

“reprimand” of Three Arrows Capital Pte. Ltd. for providing false information to the MAS and

exceeding the assets under management for a registered fund management company. A true and

correct copy of the MAS’s press release is attached hereto as Exhibit 2.

       12.     It is my understanding and belief that Mr. Davies and Mr. Zhu’s current location

remains unknown, but they are rumored to have left Singapore.

       13.     Currently, the Debtor’s registered office and address for service is located at c/o

ABM Corporate Services, Ltd 1st Floor, Columbus Centre, P.O. Box 2283, Road Town, Tortola,

British Virgins Islands, VG1110.

       14.     The Debtor has property in and connections to the United States and New York,

New York. For example, I am aware that the Debtor has assets in the form of interests in a

$150,000 retainer with the New York office of Dan Tan Law, counsel to the Debtor, through a

transfer by Solitaire LLP, the Debtor’s Singapore-based counsel, which is being held in a client

trust account located in New York, New York. I am also aware that the Debtor is a borrower

under certain loan agreements that are governed by the laws of the State of New York, provide
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for loans to be made in U.S. Dollars or Bitcoin, and include forum selection clauses designating

arbitration in New York as the forum for resolution of disputes arising in connection with the

loan agreement. Further, one of these loan agreements is currently the subject of a pending (but

temporarily stayed) arbitration against the Debtor, as described in more detail below.

III.   THE DEBTOR’S INSOLVENCY AND THE APPOINTMENT OF JOINT
       LIQUIDATORS

                                The Debtor Becomes Insolvent

       15.     The Debtor was well known in the cryptocurrency industry as a leading

proprietary trading fund. Since Debtor began trading in cryptocurrency in recent years, it grew

into one of the largest and best known cryptocurrency hedge funds.

       16.     I understand that the Debtor borrowed digital and fiat currency from multiple

lenders to fund its cryptocurrency investments. I also understand from various news outlets that

a substantial portion of the Debtor’s investment portfolio was comprised of one type of

cryptocurrency called Luna. This was reported, for example, in the previously-mentioned June

17, 2022 Wall Street Journal article. See Exhibit 1.

       17.     I understand based on various news reports that, in mid-May 2022, Luna lost 99%

of its value. I also understand that, following this “crash” in the value of Luna, prices of other

cryptocurrencies also experienced further rapid declines, which were in addition to general

downward trends in the cryptocurrency markets that have been prevalent during 2022. Among

other news sources, the Luna crash and subsequent downturn of the cryptocurrency market was

also covered in the June 17, 2022 Wall Street Journal article. See Exhibit 1.

       18.     I am informed and believe that, in the weeks that followed, the Debtor reportedly

defaulted on its obligations to several of its major lenders, many of which liquidated the Debtor’s

positions. I also understand that, by mid-June 2022, the Debtor was rumored to be facing more

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than $400 million in liquidations. These events were widely reported, including in a June 16,

2022 article published by Fortune, a true and correct copy of which is attached hereto as Exhibit

3.

       19.     I understand that, later that month, some of the Debtor’s known creditors publicly

acknowledged that the Debtor had failed to repay hundreds of millions of loaned assets,

including one creditor who publicly stated Debtor owed it the equivalent of $675 million in

cryptocurrencies, and that it planned to pursue recovery against the Debtor. This was reported in

a June 27, 2022 Wall Street Journal article, among other publications. A true and correct copy of

the June 27, 2022 Wall Street Journal article is attached hereto as Exhibit 4.

       20.     I am also aware that one of the Debtor’s largest known creditors initiated

arbitration against the Debtor seeking repayment of amounts loaned and provisional relief on an

emergency basis with respect to the Debtor’s remaining assets, but has agreed to temporarily stay

those proceedings, as explained further below.

       21.     With many creditors seeking to enforce their rights to collect on the Debtor’s

outstanding debt obligations, the risk increased that the Debtor would dissipate it assets without

consideration of each individual lender’s ability to recoup its losses.

      DRB Panama Inc. Seeks Appointment of Provisional Liquidators; Debtor Seeks
                            Appointment of Liquidators

       22.     Under BVI law, in my experience, a “liquidator” effectively serves to help wind

up the affairs of a BVI company and protect its assets, so that, inter alia, its debts, liabilities and

claims can be resolved fairly for the benefit of all creditors. It is, in essence, a collective remedy.

       23.     On June 24, 2022, one of the Debtor’s many creditors—DRB Panama Inc.

(“DRB”)—filed an application to appoint joint provisional liquidators—and thereafter, full

liquidators—in the Eastern Caribbean Supreme Court in the High Court of Justice (Commercial

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Division) located in BVI (the “BVI Commercial Court”). The application was assigned claim

number BVIHCOM2022/0117.

       24.     Subsequently, on June 27, 2022, the Debtor filed its own application for the

appointment of joint liquidators before the BVI Commercial Court, and requested that the

application be heard urgently on an ex parte basis. The Debtor’s originating application stated

that Debtor is “in default of its [many] loan obligations” and “is insolvent” under applicable law,

and thus seeks the appointment of joint liquidators pursuant to sections 159(1)(a), 162(1)(a) and

162(1)(b) of the BVI Insolvency Act 2003. In essence, the Debtor acknowledged, publicly, the

many reports released in the press over the prior few weeks regarding the nature of its ability to

operate as a going concern.

       25.     Despite seeking the appointment of joint liquidators through its own petition,

DRB did not oppose the Debtor’s request. The Debtor’s application was assigned claim number

BVIHC(COM)2022/0119. A true and correct copy of the originating application filed by the

Debtor is attached hereto as Exhibit 5.

                                Joint Liquidators Are Appointed

       26.     On June 29, 2022, the Honorable Mr. Justice Jack of the BVI Commercial Court

heard the Debtor’s application for the appointment of joint liquidators on an ex parte basis.

Justice Jack consolidated DRB’s application with Debtor’s application under claim number

BVIHC(COM)2022/0119. Justice Jack then formally appointed Mr. Farmer and myself as joint

liquidators of the Debtor in the matter (also referred to as the “BVI Proceeding”), with the power

to act jointly or severally on behalf of Debtor of all matters relating to the winding up of its

business.

       27.     The order appointing us as joint liquidators states that we have the power to: “(a)

commence, continue, discontinue or defend any claim, action or legal proceeding in the United
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States of America (‘US’) as [we] see fit; (b) commence proceedings pursuant to Chapter 15 of

US Bankruptcy Code as [we] deem appropriate; and (c) seek recognition of this order in any

jurisdiction as [we] may deem appropriate.” It further states that we shall have “all those powers

set out in section 186 and Schedule 2 of the Insolvency Act 2003,” including the “[p]ower to

carry on the business of the Company so far as may be necessary for its beneficial liquidation,”

“[p]ower to make a compromise or arrangement with creditors or persons claiming to be

creditors,” “[p]ower to commence, continue or defend any action or other legal proceedings in

the name and on behalf of the Company[,]” and the “[p]ower to sell or otherwise dispose of

property of [the Debtor].” A true and correct copy of the BVI Commercial Court’s June 29,

2022 order issued in the BVI Proceeding is attached hereto as Exhibit 6. Section 162 of the

Bankruptcy Act also provides that we have “the powers necessary to carry out the functions and

duties of a liquidator under this Act[.]”

       28.     Based on this order, it is my understanding that Mr. Farmer and myself, as court-

appointed joint liquidators of the Debtor, have a legal duty, subject to judicial supervision, to

conduct an accounting and, ultimately, to dissolve the Debtor and marshal and distribute its

assets to its creditors in a fair, legal, and orderly fashion. It is also my understanding that,

because of the BVI Proceeding, the Debtor’s key corporate activities moving forward will be

conducted by myself and Mr. Farmer and will occur in the BVI.

       29.     To that end, Mr. Farmer and I have already centralized the Debtor’s activities in

the BVI, including directing all creditors to correspond with us in the BVI (which will occur

pursuant to court-sanctioned protocols), and establishing a bank account in the BVI in the

Debtor’s name. I also understand that many creditors have retained BVI counsel.




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IV.     THE ARBITRATION PROCEEDING

        30.    Despite our appointment as joint liquidators, I understand that one of the Debtor’s

largest known creditors has initiated an arbitration in New York, New York against the Debtor,

which is being administered by the American Arbitration Association under its Commercial

Arbitration Rules and is governed by New York law. I also understand that this creditor had

applied for emergency relief with the intention of conserving Debtor’s assets, or, alternatively,

freezing the Debtor’s assets pending an arbitration of the creditor’s claims. The creditor had

further requested that an emergency arbitrator issue an interim order while its emergency

application is pending restraining the Debtor from taking any action with respect to its assets. A

hearing on the creditor’s application for emergency relief was set for July 5, 2022, but as of the

filing of the petition in this case, the creditor has agreed to a temporary stay of all proceedings.

        31.    More specifically, on or about June 28, 2022, in our capacity as joint liquidators,

Mr. Farmer and I reached out to Dan Tan Law, current counsel for the Debtor in the arbitration,

to inquire about the status of the arbitration. Dan Tan and Mark Beckett are currently leading the

defense for the Debtor in that matter. We informed Messrs. Beckett and Tan of our role. We

also asked that they communicate to the creditor’s counsel our request that the creditor put its

request for emergency relief on temporary hold to give us the opportunity to evaluate the

arbitration in connection with the BVI Commercial Court’s order appointing joint liquidators in

the BVI Proceeding. As communicated through its counsel, the creditor agreed to a temporary

stay of all proceedings, including the application for emergency relief and an interim order in the

arbitration.

V.      NEED FOR CHAPTER 15 RELIEF

        32.    I am advised by BVI counsel that the BVI proceeding comports with BVI law,

and, based on consultation with U.S. counsel, I believe that it also satisfies the requirement for
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recognition under Chapter 15 of the Bankruptcy Code. In light of the many circumstances—

including the significant number of creditors that will likely seek recovery against Debtor—a

Chapter 15 proceeding is undeniably necessary.         Absent recognition, I would expect other

creditors of the Debtor to seek to exercise self-help remedies in the United States and elsewhere,

in contravention of the BVI Commercial Court’s order.

           33.   Accordingly, recognition of the BVI proceeding, enforcement of the BVI

Commercial Court’s order appointing joint liquidators within the territorial jurisdiction of the

United States, granting all relief afforded to foreign main proceedings under 11 U.S.C. Section

1520, and imposing an automatic stay of all proceedings against the Debtor within the United

States will be critical components to liquidating the Debtor without disruption or the threat of

adverse actions by dissenting creditors against the Debtor or its assets in the United States.

Without assistance from this Court, liquidation could be fundamentally undermined to the

detriment of all parties in interest. I believe that the interests of all the Debtor’s creditors are

aligned with the Debtor in seeking the relief requested in the Petition, which will ensure that

liquidation is carried out successfully.

           34.   Additionally, as a joint liquidator of the Debtor, I have the power to, among other

things, investigate the affairs involving Debtor’s assets for purposes of recovering assets for the

benefit of the creditors. I am seeking recognition to, among other things, obtain documentary

and testimonial evidence from witnesses in furtherance of my investigative and asset recovery

efforts.

           35.   Because I was only recently appointed as a joint liquidator, I have only recently

started my investigative work.        The work of the Foreign Representatives will include

investigation of the details of the Debtor’s transactions leading up to its insolvency, as well as its

outstanding obligations, and taking possession of the Debtor’s liquid and illiquid assets, which I
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understand and believe to be located in and/or potentially subject to the laws of a number of

different jurisdictions (keeping in mind that the Debtor’s digital assets are intangible and

transferrable). Thereafter, I hope to make recoveries to the extent possible, including by filing

actions and asserting such proprietary claims as may be available to me in the United States or

elsewhere. I may also bring claims against any third parties that are subject to suit and may have

damaged or owe money to the Debtor in the United States, so that I can maximize creditors’

ability to collect on their claims.

        36.     I have also requested that the Court cause the Proposed Order to become effective

immediately upon entry, notwithstanding the 14-day stay of effectiveness of that order. I believe

that a waiver of the 14-day stay of effectiveness period is necessary to shield the Debtor’s assets

from aggressive creditors and provide a breathing spell so that Mr. Farmer and I can fulfill our

judicial duties, and immediately begin accounting for and liquidating the Debtor’s assets, as was

ordered by the BVI Commercial Court. Further delay could result in an unfair distribution of

assets to creditors or loss of market confidence in the Debtor, which may seriously impact the

viability of the Debtor’s business.



Dated: July 1, 2022                          _______/s/ Russell Crumpler__________________

                                             Russell Crumpler of Teneo (BVI) Limited as joint
                                             liquidator of the Three Arrows Capital Ltd. (the
                                             “Debtor”)




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